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State of Texas



                                                                  4:21-cv-00579-P


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               District of Columbia

                     473355                                July 9, 2001




Court of Appeals for the 9th Circuit    03/26/2007                               active




I was arrested for driving under the influence in 2016. The charges were dismissed.
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N/A




                                     22nd       April                    2021



                                            /s/ Matt Crapo
